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                     United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                        TEL. 504-310-7700
CLERK                                                             600 S. MAESTRI PLACE
                                                                 NEW ORLEANS, LA 70130



                             January 16, 2018
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 17-11101      In re: Darren Reagan


Enclosed is an order entered in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk

                                  By: _________________________
                                  Cindy M. Broadhead, Deputy Clerk
                                  504-310-7707
Ms. Karen S. Mitchell
Mr. Darren L. Reagan
   Case: 17-11101   Document: 00514309615    Page: 1       Date Filed: 01/16/2018

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                                                    A True Copy
                                                    Certified order issued Jan 16, 2018


                                                    Clerk, U.S. Court of Appeals, Fifth Circuit
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